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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

      v.                                                           Case No.
                                                               21-cr-725 (MAU)
 JARED SAMUEL KASTNER,

                       Defendant.


                                            ORDER
       Pursuant to the April 28, 2025 Mandate of the United States Court of Appeals for the

District of Columbia Circuit (ECF No. 218) and Order attached thereto, it is hereby ORDERED

that this matter as against Defendant Jared Samuel Kastner is DISMISSED AS MOOT. See

United States v. Schaffer, 240 F.3d 35, 37–38 (D.C. Cir. 2001) (en banc).

       SO ORDERED.


Date: May 28, 2025
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                                                           MOXILA A. UPADHYAYA
                                                           United States Magistrate Judge




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